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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

UNITED STATES OF AMERICA,                          )
                                                   )
       Plaintiff,                                  )
                                                   )
v.                                                 ) CRIMINAL NO. SA-23-CR-00598-FB
                                                   )
(1) ALCAPONE MAXIMUS PENA,                         )
                                                   )
       Defendant.                                  )

                ADVISORY TO THE COURT REGARDING FORFEITURE

       COMES NOW the United States of America, Plaintiff, by and through the United States

Attorney for the Western District of Texas, and files this Advisory to the Court Regarding

Forfeiture. The United States respectfully advises the Court as follows:

                                                    I.

       On November 15, 2023, an Indictment (Doc. 20) was returned against the Defendant in the

instant criminal case.   Said Indictment and United States’s Bill of Particulars (Doc. 64) included

a Notice of United States of America’s Demand for Forfeiture which sought the forfeiture of

specific personal property, namely:

       1.   Glock model 19 Gen 4 pistol, 9x19 mm caliber, serial number BHSS350;
       2.   Glock model 19 Gen 4 pistol, 9x19 mm caliber, serial number BDHW127;
       3.   Glock model 43 pistol, 9x19 mm caliber, serial number ZXM742 ;
       4.   Glock model 27 pistol, .40 caliber, serial number WAF087;
       5.   Glock model 19X pistol, 9x19 mm caliber, serial number BXHC553;
       6.   Glock model 43X pistol, 9x19 mm caliber, serial number BUEN186;
       7.   Sig Sauer P225 pistol, 9 caliber, serial number M585471;
       8.   Beretta USA Corp 21A pistol, 22 caliber, serial number BES73154U; and
       9.   Any and all firearms, ammunition, and/or accessories involved in or used in the
            commission of the criminal offenses,

hereinafter referred to as the Subject Property.
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                                                    II.

       The United States advises this Court that the Subject Property will not be judicially pursued

in the instant case from this Defendant.

                                                          Respectfully submitted,

                                                          MARGARET F. LEACHMAN
                                                          Acting United States Attorney

                                               By:        /s/
                                                          RAY A. GATTINELLA
                                                          Assistant United States Attorney
                                                          Asset Forfeiture Section
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 3, 2025, a true and correct copy of the foregoing instrument

was electronically filed with the Clerk of the Court using the CM/ECF System which will transmit

notification of such filing to counsel of record.


                                                          /s/
                                                          RAY A. GATTINELLA
                                                          Assistant United States Attorney




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